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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                 www.flmb.uscourts.gov

In re:                                                          Chapter 7
DON KARL JURAVIN,                                               Case No. 6:18-bk-06821-LVV
      Debtor.                                                   Case No. 6:20-bk-01801-LVV
__________________________________________/

DON KARL JURAVIN,                                               Jointly Administered with
Case No. 6:18-bk-06821-KSJ                                      Case No. 6:18-bk-06821-LVV
      Applicable Debtor.
__________________________________________/
DENNIS D. KENNEDY, as CHAPTER 7 TRUSTEE
OF THE ESTATE OF MUST CURE OBESITY, CO.,                    Adv. Pro. No. 6:22-ap-00015-LVV
      Plaintiff,
v.

SHAY ZUCKERMAN, ZUCKERMAN & CO.,
a/k/a SHAY ZUCKERMAN & CO.
a/k/a SHAY ZUCKERMAN & CO. LAW FIRM,
NOAM BEN-ZVI, and NOAM BEN-ZVI LAW FIRM,
       Defendants.
_____________________________________________/

                 PLAINTIFF’S RESPONSE IN OPPOSITION
           TO THE VERIFIED MOTIONS TO DISMISS FILED BY THE
    ZUCKERMAN DEFENDANTS [Doc. 8] AND THE BEN ZVI DEFENDANTS [Doc. 9]

         DENNIS D. KENNEDY, AS CHAPTER 7 TRUSTEE (Plaintiff or Trustee) OF THE

ESTATE OF MUST CURE OBESITY, CO., (MCO) by and through his undersigned counsel,

responds in opposition to the Verified Motions to Dismiss filed by the Zuckerman Defendants

(Doc. 8) and the Ben Zvi Defendants (Doc. 9) as follows1:


1
 Preliminary Note: The Trustee includes an Appendix of documents referenced in this
Response, compiled chronologically for ease of use. For this reason, Appendix citations are not
made within the Response.
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          1.        Defendants’ verifications are only as to their respective Section III, “Additional

Facts Included in this Verified Motion,” the purpose of which is to show a lack of minimum

contacts to establish jurisdiction. All Defendants assert that they never represented MCO, did not

file claims in the MCO bankruptcy case, and are not seeking recovery. Doc. 8:20, 21; Doc 9:17,

18). See: Table 1 below compaing these allegations.2

          2.        Mr. Ben Zvi is a sole practitioner whose titular law firm is not incorporated. Doc.

9:12. Mr. Ben Zvi states that he, “is not holding any funds in trust for the Debtor, Juravin, the




2
    Table1: Comparison of Defendants’ Section III Verified Statements (Additional Facts Included
            in this Verified Motion) in their Respective Motions to Dismiss

                 ZUCKERMAN DEFENDANTS                                           BEN-ZVI DEFENDANTS
                   MOTION (DOC. NO. 8)                                          MOTION (DOC. NO. 9)
     PARAGRAPH                                                 PARAGRAPH
     18. Mr. Zuckerman has known Don Juravin since             15. Ben Zvi has known Don Juravin since
         approximately the year 2000 when the Debtor               approximately the year 2010.
         resided in Israel. Mr. Zuckerman and the Debtor
         are also personal friends
     19. Mr. Zuckerman and the Zuckerman Law Firm              16. Ben Zvi represented Juravin both as an associate at
         provided legal services to Juravin, and entities          the Zuckerman Law Firm and at his own law
         owned by Juravin until Juravin moved to the               practice. Ben Zvi has not represented Juravin in any
         United States in approximately 2010.                      matters since 2019.

     20. Zuckerman defendants have never represented           17. Ben Zvi has never represented the Debtor.
         the Debtor

     21. Zuckerman defendants did not file a proof of          18. Ben Zvi did not file a proof of claim in the Debtor’s
         claim in the Debtor’s bankruptcy case and are             bankruptcy case and is not seeking any recovery
         not seeking any recovery from the estate.                 from the estate.

     22. The Zuckerman Law Firm is not holding any             19. Ben Zvi is not holding any funds in trust for the
         funds in trust for the Debtor, Juravin, the Juravin       Debtor, Juravin, the Juravin Entities, or any other
         Entities, or any other entity owned or controlled         entity owned or controlled by the Debtor for the
         by the Debtor.                                            purpose of returning funds at the conclusion of
                                                                   the bankruptcy case. Emphasis added.
     23. The Zuckerman Law Firm has no record of               20. Ben Zvi has no record of receiving $76,886.63 from
         receiving $35,000, $23,000 from the Debtor on             the Debtor in the 4 years preceding the Debtor’s
         June 26, 2017.                                            bankruptcy filing.



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Juravin Entities, or any other entity owned or controlled by the Debtor for the purpose of

returning funds at the conclusion of the bankruptcy case.” Doc. 9:19. Emphasis added.

       3.      Inference. Shay Zuckerman does not make this claim. Instead, Zuckerman verifies

only that his law firm, “is not holding any funds in trust for the Debtor, Juravin, the Juravin

Entities, or any other entity owned or controlled by the Debtor.” See, Table 1. Neither Shay

Zuckerman nor his law firm verify that they are not holding Debtor funds for the purpose of

returning them at the end of the bankruptcy case. Consequently, the Trustee may infer that: The

Zuckerman Defendants are holding funds that are not in a trust account for the purpose of returning

them after the bankruptcy case is closed, and the Ben Zvi Defendants are holding money in trust

for other purposes.

       4.      The Zuckerman Firm and Ben-Zvi Defendants filed proofs of claims in the

bankruptcy case and submitted creditor ballots accepting the bankruptcy plan thereby voluntarily

submitted to jurisdiction. The fact that the Zuckerman Law Firm withdrew its $172,000 claim

(Doc. 690) does not eviscerate jurisdiction once it is established. Further, while Shay Zuckerman

individually did not file a proof of claim, the court’s jurisdiction is established based on a myriad

of factors not the least of which is Zuckerman’s consent to jurisdiction in Orange County Florida

in the 12/28/2017 Pre-Petition Note with MCO. The Note is criminally usurious.

       5.      All Defendants filed motions to extend the time to object to Trustee’s sale of assets.

Zuckerman asserts that the law firm’s withdrawn claim was made in error. Transcript of the

5/11/2022 Deposition of Shay Zuckerman3 at 31:11-22. This is controverted by record evidence


3
  References to the Transcript of the Trustee’s 5/11/2022 Deposition of Shay Zuckerman are
indicated by the letter T followed by the page:line numbers. The transcript was filed of record in
21-ap-00143 and will be filed in this case as well.
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and is patently false. For example, like the Ben-Zvi defendants, Zuckerman and his Firm each

filed a Motion to Extend Time to File an Objection to Trustee's Motion to Approve Sale of Assets

(Doc. Nos. 353, 357, 358, 359)4. Zuckerman testified that he regularly assisted Juravin with his

bankruptcy 38:15-18 (T:38:15-18), and was doing it to help his friend because “the trustee is

plotting against him,” T:36:23-37:18.       Zuckerman was therefore actively engaged in and

supposedly funding Juravin’s U.S. endeavors. Assertions that his filings were unauthorized or

mistaken fail under scrutiny.

       6.      This Court recognizes MCO as a Juravin Alter Ego. Defendants’ claims that they

have no meaningful contact with MCO does not shield them from the reach of this Court. The

District Court found that MCO was used by Juravin as an alter ego. This prior adjudication that

means that a transfer of MCO’s interest becomes for all intents and purposes a transfer of

Juravin’s interest and vice versa. See, FTC Amended Motion for Summary Judgment, Doc. 210

at 33-36 in the genesis action FTC v. Roca Labs Inc., et al, case 8:15-cv-02231-MSS-TBM5,

including MCO as one of Juravin’s many alter ego entities: “Juravin also incorporated MCO, and

is its sole owner and officer. He controls MCO’s bank and credit card accounts. For all five

corporate entities, Juravin liberally transferred funds back and forth between them, transferred

substantial sums to himself, and often paid his personal expenses from the corporate accounts.”

Id. at p. 36. Citations to evidentiary exhibits omitted.




4
 Ben-Zvi defendants filed on 6/22/2020 (Doc. Nos. 357, 359). Shay Zuckerman filed on
6/18/2020 (Doc. No. 353). The Zuckerman law firm filed on 6/22/2020 (Doc. No. 358).
5
  The Court granted the Amended Motion for Summary Judgment on September 14, 2018,
stating its conclusions as to the Defendants’ liability, and its findings based on the evidence
submitted by the FTC.
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        7.      Consequently, lack of formal representation of MCO has no bearing on the

jurisdictional aspect of the Trustee’s investigation of the transfers made. The Trustee does not

expect a straight line here, and the law is a reflection of that.

        8.      Notwithstanding Defendants’ protestations to the contrary, the Trustee has

discovered evidence withheld by Juravin and the Defendants giving the Court additional factors

justifying personal jurisdiction, such as:

        a.   Zuckerman keeps a U.S. visa. See, 5/11/2022 Deposition Transcript at 8:22-25

        b.    Zuckerman’s dealings with Juravin regarding loans: Pre-Petition – one signed Note
             for $172,000 and one unsigned Note for $180,000; Post-Petition one signed Note for
             $150,000.

        c.    Zuckerman consents to jurisdiction in Orange County Florida in the Juravin-MCO
             $180,000 Promissory Note dated December 28, 2017

        d.    Ben-Zvi and Zuckerman, individually and obo their law firms, agree to Juravin’s
             proposed joint representation of insider creditors for the bankruptcy litigation based on
             the fact that:
                 You and your businesses are creditors of mine and of MCO. Karan has a
                 security interest, Shay has a promissory note and Noam has a nonsecured claim.
                 Karan told me that he would like to minimize frictions and attorney fees and
                 therefore asked me to approach you with the following proposal which will also
                 save you on attorney fees. Provided you agree, attorney Mike Nordella [sic] will
                 represent of [sic] 5-6 of you. 1. Karan & NV (Natural Vitamins) will receive 88%
                 of the proceedings 2. Shay & Zuckerman Law will receive 8% 3. Noam and Ben
                 Zvi Law will receive 4% 4. Attorney fees will be paid by Karan Please reply to
                 this email stating "AGREED" which will denote that you personally, as well as the
                 company you are authorized to represent, agree to the four terms.
                 Don Juravin
        Emphasis added. All Defendants responded, “I agree.” Juravin insider and creditor
        Karan Arora, principal of Natural Vitamins Laboratory Corp. (NVLC) ultimately wanted
        his own counsel (he is represented by the Nardella firm).

        e.   Zuckerman’s email agreements on:
                November 17, 2020 to make monthly payments for Juravin’s personal legal bills;
                payment directly to Juravin’s U.S. ‘legal team’, $5,000 to $10,000 monthly, no
                more than $15,000., and in return Juravin will repay Zuckerman $200,000— in a
                promissory note.
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               November 22, 2020 to agree to the above, but the repayment amount is increased
               to $250,000 and secured by UCC ; request for Zuckerman to pay $10,000 to
               attorneys at the Florida Rights Law Firm by November 28, 2020, and on December
               22, 2020 Zuckerman agrees to transfer $7,000 by 12/30/2022 to the same account.
               The Law Firm is located in St. Petersburg, FL and the funds were wired to the its
               Bank of America business account via one of its Manhattan branches.
               Amber Robinson, Esq. is affiliated with this firm and represented MCO in its main
               case.

      f.    Zuckerman and his firm continued providing legal services to Juravin and his related
           entities after 2010— in direct contravention to his Motion’s verified statement. See,
           e.g. the 2014 letter from Mr. Zuckerman on Firm letterhead, making a demand on
           behalf of Roca Labs against a U.S. citizen and resident of the greater Tampa Bay area.
           The letter is written in English, and cuts against the purported candor of Mr.
           Zuckerman’s verified facts.

      g. Zuckerman’s May 4, 2021 letter responding to Trustee’s Rule 2004 subpoena falsely
         states that he, “never heard the names Karen [sic] Arora ...prior to your message....,”
         and remarkably, “While I know Mr. Ben Zvi, to the best of my recollection I had no
         correspondence with him whatsoever regrading [sic] Mr. Juravin.”
         Email, for example, constitutes correspondence as defined by the Subpoena
         Documents.

      h. Ben-Zvi also continued representing Juravin Post-Petition in direct contravention to his
         Motion’s verified statement. For example, he prepared a “Warning Letter” dated
         October 20, 2020 to a U.S. resident named Mr. Shorkend. The letter is on Ben-Zvi
         Firm letterhead and is written on behalf of an as yet unnamed Juravin company,
         explaining that “During a conversation with the company representative, Don Jurvin,
         you have been asked to provide explanations for your refusal to sign the NDA…. The
         company…intends to file a lawsuit in state of Florida at the United States, and seek its
         execution, based on the Hague Convention. If you have a local layer in the United
         states, please provide his details, for the purpose of continuing the proceedings….
         Attorney Noam Ben-Zvi Israel”

      i. The Defendants continue holding money for Juravin/Alter Ego Entities

      j. Defendants’ emails concerning documents filed in the bankruptcy, including ballots
         and testimony about money owed to the respective Defendants

      9.      The Defendants still, today, refuse to comply with this Court’s Order (Doc 567) in

the bankruptcy granting Trustee’s Motion to Compel. Yet, they ask this Court to rely on his



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incomplete, inconsistent, demonstrably inaccurate verified facts instead of those made by the

Trustee in the Complaint, and otherwise proved out by the main bankruptcy case record.

       10.     The allegations made in the Complaint and the record activity docketed in the main

case demonstrate, on their face, that the Defendants submitted to the jurisdiction of this Court the

Motion to dismiss should be denied.

                                      MEMORANDUM OF LAW

       Standard of Review. The Trustee’s allegations must be accepted as true and construed in

the light most favorable to him. Mirabilis Ventures, Inc. v. Buchanan, Ingersoll & Rooney, P.L.

(In re Mirabilis Ventures, Inc.), nos. 6:08-bk-04327-KSJ, 6:08-ap-227, 2009 (Bankr. M.D. Fla.

Aug. 12, 2009; Bankr. LEXIS 2272, at *1-2) (Memorandum Opinion by Judge Jennemann denying

Defendants' Motion to Dismiss an adversary proceeding contending in part that complaint failed

to state a claim under Rule 12(b)(6). Citations omitted. Defendants must show that it appears

beyond doubt that the Trustee cannot prove any set of facts in support of his claim that would

entitle him to relief. Id. (citing Financial Security Assur., Inc. v. Stephens, Inc., 450 F.3d 1257,

1262 (11th Cir. 2006). Secondary citations omitted.          "The threshold of sufficiency that a

complaint must meet to survive a motion to dismiss for failure to state a claim is, as we have stated

previously, exceedingly low." Id. Quotations, secondary and tertiary citations omitted.

       This Court has Personal Jurisdiction over the Defendants. Defendants argue lack of

personal jurisdiction, generally and specifically, as the primary basis for dismissal. Evaluating

jurisdiction through the standard analytical construct is unnecessary.

       The Defendants voluntarily submitted to the personal jurisdiction of this Court by filing

their claims in the Juravin bankruptcy case. The prior adjudication that MCO is an alter ego of

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Juravin means that a transfer of MCO’s interest becomes for all intents and purposes a transfer of

Juravin’s interest and vice versa. Cf., Pivot Point Partners, LLC v. Schoenmann (In re WB Coyle),

Case No.: 15-cv-04126-YGR, 2016 U.S. Dist. LEXIS 137211 at *11-12; 2016 WL 5673247 (N.D.

Cal. October 3, 2016) (In the context of Ch. 7 Trustee’s underlying request for preliminary

injunction, one of the bases for which was alleged fraudulent transfer under § 548(a)(1)(A) of the

Bankruptcy Code.)

          Again, Zuckerman agreed to jurisdiction in Orange County in the Promissory Note filed in

his proof of claim. Then, on May 9, 2022, in the early morning hours before he was to be deposed,

Mr. Zuckerman withdrew his claim #12, based on a $ 172,000. Promissory Note. Doc. No. 690.

This, “belated withdrawal of the claims [is] irrelevant,” in determining jurisdiction. Musselman v.

Jasgur (In re Seminole Walls & Ceilings Corp.), 336 B.R. 539, 543 (Bankr. M.D. Fla.2006).

Zuckerman simply cannot file a claim, then try to escape the Court’s jurisdiction by withdrawing

it. Id.

          This Court’s exercise of jurisdiction over Defendants does not violate the traditional

notions of fair play and substantial justice implicit in due process 6.

          The Complaint provides fair notice of Plaintiff’s claims. It is not a shotgun pleading and

the allegations are well-pled. Inferential allegations are suitable for notice pleading under the

Federal Rules. "[W]hile notice pleading may not require that the pleader allege a specific fact to

cover every element or allege with precision each element of a claim, it is still necessary that a



6
 See, Welt v. Bumshteyn (In re Bumshteyn), Ch. 7 Case No. 18-23930-PDR, Adv. No. 21-01069-
PDR, 2022 WL 126612, 2022 Bankr. LEXIS 90 * at *7 (Bankr. M.D. Fla. Jan. 12, 2022) for a
primer on, “Traditional Notions of Fair Play & Substantial Justice.”


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complaint contain either direct or inferential allegations respecting all the material elements

necessary to sustain a recovery under some viable legal theory." Musselman v. Cameron (In re

Cameron), 359 B.R. 818, 820-821 (Bankr. M.D. Fla. Nov. 27, 2010) (Memorandum Opinion by

Judge Jennemann citing the same Mirabilis passage in its entirety). Quotations, secondary and

tertiary citations omitted. Emphasis added. fair notice of its claims, and the defendants can

frame a response to the amended complaint, as filed.

       The Complaint sets out the nature and history of the claims, in separate counts that are

delineated in separate sections and numbered paragraphs. The elements of each claim are stated,

“clearly and concisely” where each element is supported by “with adequate factual allegations.”

Mirabilis at *5-7. Judge Jennemann held in Mirabilis that the shotgun complaint brought for

dismissal gave the defendants, “fair notice” of the alleged claims allowing them to frame a

response, setting out the pleading requirements demanded by the Rules:

       Rule 8(a) of the Federal Rules of Civil Procedure requires a short and plain
       statement to set forth a claim and give defendants fair notice to adequately respond.
       The "failure to identify claims with sufficient clarity to enable the defendant to
       frame a responsive pleading" is a "shotgun pleading" which places an unfair burden
       on defendants. Rule 10(b) of the Federal Rules of Civil Procedure articulates the
       minimum pleading requirements a plaintiff must meet and provides:

          A party must state its claims or defenses in numbered paragraphs, each
          limited as far as practicable to a single set of circumstances . . . If doing so
          would promote clarity, each claim founded on a separate transaction or
          occurrence--and each defense other than a denial-- must be stated in a
          separate count or defense.

               FED. R. CIV. P. 10(b). "If [a pleading is] properly drawn, [it] will present
       each claim for relief in a separate count as required by Rule 10(b) and with such
       clarity and precision that the defendant will be able . . . to frame a responsive
       pleading." Anderson v. Dist. Bd. of Trs. of Cent. Fla. Cmty. Coll., 77 F.3d 364, 366
       (11th Cir. 1996). Pleadings that conform to the provisions of Rule 10(b) and are


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       sufficiently clear and concise to enable defendants to frame a response are not
       "shotgun pleadings" and provide fair notice. Id.
Mirabilis at *5-7.

       That the Defendants argue a lack of specificity as to the transfers and the fraud alleged is

purely a result of the lack of transparency by Mr. Juravin and these Defendants. Further, our

bankruptcy laws do not hamstring a trustee’s ability to recover property from subsequent

transferees simply because they have no direct relationship to the debtor. Cf., In re Picard, 917

F.3d 85, 105 (2d Cir. 2019); Picard v. Citibank, N.A. (In re Bernard L. Madoff Inv. Sec. LLC), 12

F.4th 171, 199 (U.S. 2d Cir. 2021) citing Nat'l Commc'ns Ass'n Inc. v. AT&T Corp., 238 F.3d 124,

130-31 (2d Cir. 2001) (‘"all else being equal, the burden [of proving an issue] is better placed on

the party with easier access to relevant information" and that "courts should avoid requiring a party

to shoulder the more difficult task of proving a negative"’); Mediaset Espana Comunicacion, S.A.

v. Romay, No. 22-21229-Civ 2022; 2022 WL 1643835; U.S. Dist. LEXIS 93233 at *8-9 (S.D. Fla.

May 23, 2022) (reasoning “When it comes to foreign fraudulent transfers, there may be tension

between exercising personal jurisdiction over foreign defendants and the purposes of 11 U.S.C. §

550. Section 550(a) permits a trustee to recover fraudulently conveyed property for the benefit of

the estate, and this authority would be frustrated if a fraudster could render the property

"recovery-proof" by merely transferring it overseas. (Emphasis added, citations and quotations

omitted).

                                           CONCLUSION

       The Defendants’ Motions to Dismiss should be denied.




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Dated: June 09, 2022.       Respectfully submitted,

                                        /S/JAMES D. RYAN
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                                           SPECIAL COUNSEL TO DENNIS D. KENNEDY, TRUSTEE



                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 09, 2022, a true and correct copy of the foregoing
Plaintiff’s Response in Opposition to Defendant’s Motion to Dismiss was served by CM/ECF to
Michael S. Hoffman, Esq., mshoffman@hlalaw.com, Hoffman, Larin & Agnetti, P.A., 909 North
Miami Beach Blvd., Suite 201, North Miami, FL 33162, and to all parties registered to receive
electronic notice.
                                            /S/JAMES D. RYAN
                                               JAMES D. RYAN, ESQ.




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